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GOLDSTEIN & RUSSELL, P.C.
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                                                                        Bethesda, MD 20814
                                        November 16, 2018

The Honorable Ellen Lipton Hollander
U.S. District Court for the District of Maryland
101 West Lombard Street
Baltimore, MD 21201

         Re: Filing in a Related Case

Dear Judge Hollander:

      I write to inform the Court that today in Michaels v. Sessions, No. 18-496, in
which I am co-counsel, petitioner filed the attached motion in the United States
Supreme Court to substitute Rod Rosenstein as Acting Attorney General with
respect to a pending petition for writ of certiorari. That filing does not affect the
pending motion for preliminary injunction or substitution in case 1:18-cv-02849-
ELH, State of Maryland v. United States of America et al., ECF 6. As soon as there
are any developments in the Supreme Court proceedings, my office will inform
chambers immediately.

                                        Sincerely,



                                        Thomas C. Goldstein
                                        tgoldstein@goldsteinrussell.com
                                        (202) 362-0636



CC:      Tamra T. Moore
         Senior Counsel
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